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                      UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WISCONSIN


 NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                        Plaintiffs,
        v.                                                          No. 3:21-cv-00096-wmc
 RURAL UTILITIES SERVICE, et al.,                                   Consolidated with No. 3:21-cv-
                       Federal Defendants,                          00306-wmc

 AMERICAN TRANSMISSION COMPANY, LLC, et al.,
                       Intervenor-Defendants.
___________________________________
 NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                        Plaintiffs,
        v.
 UNITED STATES ARMY CORPS OF ENGINEERS, et al.,
                        Federal Defendants,

 AMERICAN TRANSMISSION COMPANY, LLC, et al.,
                        Intervenor-Defendants.

                                      JOINT NOTICE OF APPEAL


       Notice is hereby given that Intervenor-Defendants American Transmission Company LLC, by

its corporate manager ATC Management Inc., ITC Midwest LLC, and Dairyland Power Cooperative

hereby appeal to the United States Court of Appeals for the Seventh Circuit the November 1, 2021

Opinion and Order granting a preliminary injunction, ECF No. 160, and the associated November 3,

2021 Preliminary Injunction Order, ECF No. 164, in the above-captioned proceedings.
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DATED: November 12, 2021                 Respectfully submitted,

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                                         ITC Midwest LLC and Dairyland Power
                                         Cooperative.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 12, 2021, I electronically filed the foregoing document

with the Clerk of Court using the Court’s ECF system, which will serve the document on all

counsel of record registered for electronic filing in the above-captioned proceeding.



Dated: November 12, 2021
                                                       /s/ Thomas C. Jensen
                                                       Thomas C. Jensen
